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     Attorney for the Plaintiffs and Counter-Defendants,
6    MISS GLOBAL ORGANIZATION, LLC and
7    VAN PHAM
                           UNITED STATES DISTRICT COURT
8
                             CENTRAL DISTRICT OF CALIFORNIA
9
                                   SOUTHERN DIVISION
10
11   MISS GLOBAL ORGANIZATION, Case No.: 8:17-cv-2223 DOC (KESx)
     LLC, a California limited liability
12   company and VAN PHAM, an            DECLARATION OF VAN PHAM
     individual,
13
                Plaintiff,                 Judge: Hon. David O. Carter
14         v.
                                           Case Filed: December 20, 2017
15   SOKHUNTEA MAK, a/k/a TEA
     MAK, an individual; SCOTT
16   WARE, an individual; and DOES 1-
     10, Inclusive,
17
               Defendants.
18   _____________________________
     ____________
19   SOKHUNTEA MAK, a/k/a TEA
20   MAK, an individual; SCOTT
     WARE, an individual; and DOES 1-
21   10, Inclusive,
22           Counterclaim Plaintiffs,
            v.
23
     MISS GLOBAL ORGANIZATION,
24   LLC, a California limited liability
     company and VAN PHAM, an
25   individual,
26         Counterclaim Defendants.
27
28


                               DECLARATION OF VAN PHAM
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1          I, Van Pham, declare as follows:
2
3          1.     I have personal knowledge of the facts stated in this declaration, unless
4    otherwise stated upon information and belief. If called as a witness, I could and
5    would testify under oath as to the facts stated in this declaration.
6          2.     I am a named Plaintiff in this Action. I am also the founder, owner,
7
     and authorized representative of Plaintiff Miss Global Organization, LLC
8
     (“MGO”).
9
           3.     Before I founded and created Plaintiff Miss Global Organization, LLC,
10
     I was a television producer and film director, as well as a pageant director.
11
           4.     Specifically, I worked for the Miss Vietnam USA pageant in 2003 and
12
     2004 and later served as the director and event producer for the First Miss Vietnam
13
     Global pageant at the MGM Grand Arena.
14
15         5.     As a part of my production work for another pageant Miss World

16   Vietnam pageant, I worked with Mr. Ly Viet Vu (“Mr. Vu”), a website designer, to
17   assist in the development and design of Miss World Vietnam website.
18         6.     Later, I served as the executive producer for the nationally broadcast
19   Vietnamese Modeling Project, Seasons 1 and 2.
20                     My Personal Development of the Miss Global
21         7.     In the first months of 2011, I commenced my first steps towards
22   realizing my longstanding desire to create and run my own international beauty
23   pageant.
24         8.     Specifically, on March 15, 2011, I contacted Mr. Vu, the website
25   designer, to begin designing and developing a website for my beauty pageant. A
26
     true and correct copy of this electronic mail correspondence starting on March 15,
27
     2011 is attached hereto as Exhibit “A”.
28


                             DECLARATION OF VAN PHAM
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1           9.    Soon after, on April 11, 2011, I personally purchased the Internet
2    domain name www.missglobal.com from HugeDomains.com for the price of
3    $1,395.00 (the “Miss Global Website”). A true and correct copy of the electronic
4    receipt confirming my acquisition of this domain name is attached hereto as Exhibit
5    “B”.
6           10.   I have never sold, assigned, or transferred the Internet domain,
7
     www.missglobal.com, to anyone, at any time. There are no documents in existence
8
     that reflect any transfer, assignment, or sale, or divestment otherwise, of my
9
     ownership of the Internet domain, www.missglobal.com.
10
            11.   On April 24, 2011, searching for a logo design more consistent with
11
     my vision for MGO, I retained the services of 48HoursLogo to develop and finalize
12
     the logo for my Miss Global pageant. A true and correct copy of a PayPal receipt
13
     reflecting one of my payments to 48HoursLogo for the Miss Global Logo Design is
14
15   attached hereto as Exhibit “C”.

16          12.   On or around March 21, 2012, I retained the services of LegalZoom to
17   form Plaintiff Miss Global Organization, LLC in the State of California. A true and
18   copy of LegalZoom’s receipt and Miss Global’s Articles of Organization are
19   attached hereto as Composite Exhibit “D”.
20          13.   On April 25, 2012, I obtained from the IRS a Federal EIN number for
21   Plaintiff Miss Global. A true and correct copy of an IRS Notice, redacted where
22   appropriate, is attached hereto as Exhibit “E”.
23          14.   On May 10, 2012, I filed a Statement of Information for Plaintiff Miss
24   Global with the California Secretary of State, identifying myself, Van Pham, as the
25   sole manager. A true and correct copy of the Statement of Information is attached
26
     hereto as Exhibit “F”.
27
28


                              DECLARATION OF VAN PHAM
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1          15.   In 2013, by and through my wholly owned company, Plaintiff Miss
2    Global Organization, LLC, I personally organized and directed the first annual Miss
3    Global beauty pageant.
4          16.   For the first annual Miss Global pageant, a program was developed,
5    printed, and distributed wherein I, Van Pham, am prominently identified as the
6    “President & Founder” of Miss Global. A true and correct copy of the cover and
7
     select pages from the 2013 first annual Miss Global pageant program is attached
8
     hereto as Exhibit “G”.
9
           17.   I have consistently maintained my position as the founding manager
10
     and sole owner of MGO to this day. There are no documents reflecting any transfer,
11
     assignment or sale, or otherwise, of my ownership interest in MGO.
12
           18.   On May 8, 2012, I obtained a USPTO Trademark Certificate for the
13
     word mark “MISS GLOBAL” with Registration No. 4,140,556, which affirms that
14
15   I first used “MISS GLOBAL” as early as May 2, 2011. A true and correct copy of

16   this United States Patent and Trademark Office Certificate of Trademark
17   Registration for the mark “MISS GLOBAL” in my name; Registration No.
18   4,140,556; Registration Date: May 8, 2012, and a true and correct copy of a
19   screenshot of the United States Patent and Trademark Office website of the Miss
20   Global mark is attached hereto as Composite Exhibit “H”.
21         19.   On October 2, 2012, I obtained a USPTO Trademark Certificate for
22   the design mark “G MISS GLOBAL” with Registration No. 4,219,443, which
23   affirms that I first used “G MISS GLOBAL” as early as May 7, 2012. A true and
24   correct copy of this United States Patent and Trademark Office Certificate of
25   Trademark Registration for the mark “MISS GLOBAL” in my name; Registration
26
     No. 4,219,443; Registration Date: October 2, 2012, and a true and correct copy of a
27
     screenshot of the United States Patent and Trademark Office website of the G
28
     MISS GLOBAL mark that affirms that I applied for the mark on November 19,

                              DECLARATION OF VAN PHAM
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1    2011 as an intent to use mark pursuant to the filing basis 1B (which provides me
2    with a constructive use priority date of November 19, 2011), is attached hereto as
3    Composite Exhibit “I”.
4          20.   On or around January 2013, I requested Sokhuntea Mak a/k/a Tea Mak
5    (“Mak”), a seasonable worker for MGO, to create a Facebook page for MGO,
6    specifically, as located at Facebook.com/officialmissglobal (the “MGO Facebook
7
     Page”).
8
           21.   At all times, I was personally an administrator of the MGO Facebook
9
     Page and maintained access and control over the MGO Facebook page, with the
10
     ability to edit the MGO Facebook page.
11
           22.   At some point on or about March 29, 2018, Mak a former seasonal
12
     worker of MGO, took steps to wrongfully commander control of the MGO
13
     Facebook page, including causing me to be improperly removed as an administrator
14
15   of the MGO Facebook Page. A true and correct copy of my correspondence with

16   Facebook is attached as Composite Exhibit “J”. (On December 21, 2018 this Court
17   issued a Preliminary Injunction Ordering Defendants to return control of the MGO
18   Facebook page to me, Van Pham. Defendants did not make any efforts to comply
19   with this Court’s Order; however, after I showed this Court’s Order to Facebook,
20   Facebook transferred control of the MGO Facebook site back to me Van Pham.)
21         23.   After commandeering the MGO Facebook page, Ms. Mak changed the
22   URL to Facebook/missglobalorganization which is identical to the new URL
23   Plaintiffs have been using for MGO, www.missglobalorganization.com, since Ms.
24   Mak commandeered MGO’s original URL, www.missglobal.com.
25         24.   Mak is no longer an employee of MGO or an authorized agent of
26
     MGO.
27
           25.   Currently, I am once again the only manager and admin of the MGO
28
     Facebook Page (After Facebook returned control to me).

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1            26.   My email address is vanmpham@yahoo.com, and my personal
2    Facebook page is Facebook.com/VanMPham. No other email address or Facebook
3    account should be associated with the MGO Facebook Page.
4            27.   I have always been the only legitimate admin for MGO’s Instagram
5    page located at Instagram.com/missglobalofficial, which is was linked to the MGO
6    Facebook page at Facebook.com/officialmissglobal (temporarily
7
     facebook.com/missglobalorganization). Because the page is linked, Ms. Mak was
8
     able to falsely modify the website and biography information on the
9
     Instagram.com/missglobalofficial when she had control (Control has been returned
10
     now).
11
             28.   Video footage exists, which I still possess, depicting me being
12
     introduced as the CEO, founder and owner of Miss Global.
13
             29.   After this introduction, I personally crowned the first pageant winner.
14
15           30.   Since 2013, Miss Global has crowned six pageant winners.

16           31.   In 2019, forty-six contestants around the world competed for the Miss
17   Global crown. (this was lower than it would have been absent Defendants actions).
18                                  The Miss Global Logo
19           32.   I discovered 48hourslogo by searching online for logo creation
20   companies.
21           33.   48hourslogo is a crowdsourcing website which permits a user to post a
22   job and thereafter select from several unique submissions.
23           34.   48hourslogo’s website describes their service as follows: “[i]t is
24   simply the best way to create a custom logo online because you get multiple
25   designers competing on your project which maximize creativity and selections.”
26
             35.   After creating a user account with 48hourslogo, I submitted a logo
27
     design project for a “Miss Global” logo at 48hourslogo.com.
28


                             DECLARATION OF VAN PHAM
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1           36.   On April 24, 2011, 48hourslogo sent me an electronic mail messages
2    thanking me for submitting the logo design project at 48hourslogo.com and
3    confirming receipt of payment for the “Miss Global logo project.” A true and
4    correct copy of the April 24, 2011 electronic mail messages are attached as Exhibit
5    “K”.
6           37.   On April 26, 2011, 48hourslogo sent me another email, notifying me
7
     that the my “Miss Global logo project” had concluded and instructing me to
8
     proceed to my project page with 48hourslogo to select up to three (3) designers to
9
     continue with my design revisions. A true and correct copy of the April 26, 2011
10
     emails is attached as Exhibit “L”.
11
            38.   Both the April 24, 2011 email and the April 26, 2011 email from
12
     48hourslogo are addressed to me, Van M. Pham at my email
13
     vanmpham@yahoo.com. See Exhibits “K” and “L”.
14
15          39.   Following the completion of the “Miss Global” design project,

16   48hourslogo sent me link containing the final logo package for “Miss Global”.
17          40.   Specifically, on April 27, 2011, 48hourslogo sent me an email to
18   notify me that the registered logo designer I selected, “ZenBlackMamba” (“Mr.
19   Vizmonte”), had uploaded the final logo package for “Miss Global”, and to instruct
20   me to download the file and confirm its content. A true and correct copy of this
21   April 27, 2011 email is attached hereto as Exhibit “M”.
22          41.   Again, the April 27, 2011 email is addressed to me, Van M. Pham, at
23   my email vanmpham@yahoo.com. See Exhibit “M”.
24          42.   After completing my requested modifications, “ZenBlackMamba”
25   (“Mr. Vizmonte”) sent me the following logo (the “Miss Global Logo”):
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27
28


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           43.     Thereafter, I proceeded to pay the remaining balance to Mr. Vizmonte
14
15   via PayPal for Miss Global Logo.

16         44.     Pursuant to 48hourslogo’s express terms and conditions, I own the
17   rights to the Miss Global Logo created by 48hourslogo at my direction and as paid
18   for by me.
19         45.     Since its creation, I have used the Miss Global Logo in connection
20   with each and every Miss Global event, and have further displayed the Miss Global
21   Logo across various social media platforms in connection with Miss Global’s
22   operations.
23         46.     Defendant/Counterclaimant Sokhuntea Mak a/k/a Tea Mak (“Mak” or
24   “Defendant”) did not assist me or participate in any way in the creation and
25   development of the Miss Global Logo.
26
           47.     Ms. Mak initially claimed that she created, developed, and/or owns the
27
     Miss Global Logo. This was knowingly false statement. Defendants have now
28
     withdrawn their counterclaim for copyright infringement with prejudice.

                             DECLARATION OF VAN PHAM
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1          48.    Defendants have knowingly edited the Miss Global Organization
2    Wikipedia page multiple times to falsely list Ms. Mak as the founder and CEO of
3    MGO. Each time I (Van Pham) correct the page she edits the page again. A true
4    and correct copy of this the Miss Global Wikipedia page and its multiple recent edit
5    history is attached hereto as Composite Exhibit “N”.
6          49.    Ms. Mak has intentionally disseminated false, non-privilege, and
7
     damaging information about Plaintiffs to an individuals who she believed to be a
8
     potential beauty pageant contestants when such individuals asked her about
9
     Plaintiffs’ next Miss Global beauty pageant (the one that just recently occurred in
10
     Manila, Philippines from February 1-12, 2019.) A true and correct copy of such
11
     correspondence is attached hereto as Exhibit “O”.
12
           50.    Mak’s unlawful behavior, including misrepresenting ownership of
13
     MGO, infringing Plaintiff’s intellectual property, unlawfully commandeering and
14
15   controlling Plaintiffs’ social media accounts and URLs, and otherwise interfering

16   with the operation of Plaintiffs’ business has caused several instances of actual
17   confusion among contestant and national directors/licensees, and has caused actual
18   damage to Plaintiffs. A true and correct copy of examples of such correspondence
19   is attached hereto as Exhibit “P”.
20         51.    I registered my copyright in the Miss Global Logo with the United
21   States Copyright Office. A true and correct copy of the Copyright Registration
22   Certificate is attached hereto as Exhibit “Q”.
23         52.    Attached as Exhibit “R” is a true and correct copy of an email I sent to
24   Ms. Mak on March 11, 2012 explaining MGO to Ms. Mak and how she could earn
25   a finders commission and a percentage of MGO profit sharing if she would assist
26
     me in finding investors. Ms. Mak was never a founder or co-owner.
27
28


                            DECLARATION OF VAN PHAM
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